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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

IN RE:                                          §           Chapter 11
                                                §
PEARL RESOURCES, LLC and                        §           Case No. 20-31585-11
                                                §
PEARL RESOURCES OPERATING                       §           Case No. 20-31586-11
CO. LLC,                                        §
                                                §           Jointly Administered under
                                                §           Case No. 20-31585
       Debtors.                                 §

                 NOTICE OF PERFECTION OF MINERAL LIEN BY
         PILOT THOMAS LOGISTICS, LLC PURSUANT TO 11 U.S.C. § 546(b)(2)

       Pilot Thomas Logistics, LLC (“Pilot Thomas”), by and through the undersigned counsel,

hereby provides Notice of Perfection of its Mineral Lien under 11 U.S.C. § 546(b)(2) and

respectfully shows as follows:

       1.      Pilot Thomas is a company which delivered and provided fuel and related products

under agreement/contract with Pearl Resources Operating Co. LLC and/or Pearl Resources, LLC

(collectively, the “Debtors”). The fuel and related products were used in connection with the

production of oil and gas and the operations conducted in connection therewith by the Debtors

from lease well-sites located in Gaines County, Texas (the “Leases”). The total amount due and

owing Pilot Thomas on account of the fuel and other supplies up through March 3, 2020 (the

“Petition Date”) is at least $48,922.32, exclusive of any accruing interest, costs, fees, and other

charges, with potential additional amounts owed and accrued after the Petition Date. Pilot Thomas

delivered fuel to the Debtors as recently as December 24, 2019. True and correct copies of the

invoices and other documentation supporting Pilot Thomas’s claim and mineral lien are attached

hereto as “Exhibit A.”




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       2.      A party perfects a lien under the statutory mineral lien laws of Texas (Texas

Property Code § 56.001 et seq.) by, among other things, filing an affidavit claiming its entitlement

to a lien with the county clerk of the county in which the property at issue is located within a

specific period of time that contains the information proscribed by Texas Property Code § 56.022.

       3.      The interests included under the Leases subject to the mineral lien includes, among

other things, “the land, leasehold, oil or gas well, water well, oil or gas pipeline and its right-of-

way, and lease for oil and gas purposes for which the labor was performed or material, machinery,

or supplies were furnished or hauled, and the buildings and appurtenances on this property”

(collectively, the “Property”) pursuant to Texas Property Code § 56.003.

       4.      The Texas Property Code further requires commencement of suit to foreclose on a

lien within two years after the last day a claimant may file the lien affidavit or within one year

after completion, termination, or abandonment of the work under the original contract under which

the lien is claimed, whichever is later. Texas Property Code §§ 56.041, 53.158.

       5.      Section 546(b)(2) of the title 11 of the United States Code (the “Bankruptcy Code”)

provides that when applicable law requires seizure of property or commencement of an action to

accomplish perfection, or maintenance or continuation of perfection, of an interest in property, the

claimant may file a notice with the Bankruptcy Court, in lieu of such seizure or commencement.

       6.      Pursuant to Bankruptcy Code section 546(b)(2), Pilot Thomas hereby provides

notice to the Debtors, the Debtors’ counsel, and the Office of the United States Trustee of Pilot

Thomas’s rights as a perfected lienholder in the Property pursuant to the Texas mineral lien law,

i.e. Texas Property Code Chapter 56, and also Pilot Thomas’s claimed Texas Constitutional Lien

on the Property under Article 16, Section 37 of the Texas Constitution.




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       7.      Pilot Thomas is filing this Notice to preserve, perfect, maintain, and continue its

rights in the Property under Texas state law in order to comply with the requirements of the Texas

mineral lien laws and section 546(b)(2) of the Bankruptcy Code, and this Notice constitutes the

legal equivalent of having recorded a mineral lien in the public records for the county where the

Property is located and then having commenced a suit to foreclosure the lien in the proper court.

Accordingly, by reason of this Notice, the Debtors and other parties in interest are estopped from

claiming that any notice, filing, or lawsuit to enforce the mineral lien was not timely commenced

or conducted pursuant to applicable Texas law. Pilot Thomas may but is not required to further

perfect its mineral lien rights to the fullest extent permitted by applicable law as allowed under

section 362(b)(3) of the Bankruptcy Code.

       8.      The filing of this Notice shall not be construed as an admission that any filing is

required under the Bankruptcy Code, the application Texas mineral lien law, and/or any other

applicable law. Additionally, Pilot Thomas hereby makes no admission of fact or law and asserts

that its lien is senior to and affective against entities that may have acquired rights in the Property

previously, and reserves all rights to amend and/or supplement this Notice.




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Dated: April 28, 2020                               Respectfully submitted,

                                                    /s/ Joshua N. Eppich
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                                                    ATTORNEYS FOR PILOT THOMAS LOGISTICS,
                                                    LLC




                               CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on April 28, 2020, a true and correct copy of the
foregoing document was served on all parties requesting service via the Court’s ECF system.

                                                    /s/ J. Robertson Clarke
                                                    J. Robertson Clarke




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